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        IN THE CIRCUIT COURT OF WASHINGTON COUNTY, MISSISSIPPI


TERESSA J. WILLIAMS                                                                     PLAINTIFF


                                              Received & nl`L§8No• 2D zl -DDq
                                                                              GT-
`'s.
LIGHTHOUSE POINT, LLC
D/B/A TROP CASINO GREENVILLE                           FEB 0 5 2021                   DEFENDANT
                                                 Barb-arm,   s 7searker
                                              By=                        D.C.

                                         COMPLAINT
                                     (Jury Trial Demanded)


       COMES NOW Plaintiff, Teressa J. Williams, and files this her Complaint for damages

against Defendant, Lighthouse Point, LLC d/b/a Trop Casino Greenville, and in support thereof

would show as follows:

                                                  1.

       The Plaintiff, Teressa J. Williams (hereinafter referred to as "Plaintiff'), is an adult resident

citizen of Greenville, Washington County, Mississippi.

                                                  2.

       The Defendant, Lighthouse Point, LLC d/b/a Trop Casino Greenville (hereinafter referred

to as "Trop Casino"), is a Mississippi corporation,, organized and existing by virtue of the laws of

the State of Mississippi and licensed to do business in the State of Mississippi and at all pertinent

times was doing business as the Trop Casino located at 199 North Lakefront Road, Greenville,

Washington County, Mississippi. Defendant Trop Casino may be served with process ofthis Court

through its registered agent for service of process, Corporation Service Company, 7716 Old

 Canton Road, Suite C, Madison, MS 39110.
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                                                      3.

             The Plaintiff's accident which gives rise to this lawsuit occurred in Greenville, Washington

     County, Mississippi, and therefore this Court is the proper venue for this action. This Court has

     subject matter jurisdiction of the facts set forth in this Complaint and in personal jurisdiction of

     the parties hereto.

                                          UNDERLYING FACTS

                                                      4.

             On or about February 10, 2018, Plaintiff was at the Trop Casino located at 199 North

     Lakefront Road in Greenville, Mississippi. On said date, Plaintiff was lawfully on the property

     owned and operated by Trop Casino for the purpose of dining and, as such, Plaintiff was a business

     invitee of Trop Casino. While at the Trop Casino, Plaintiff slipped and fell in water a few feet

     from inside the main entrance of the casino. There were no wet floor signs or other warning

     signage in the area of Plaintiffls fall inside the main entrance of the casino to notify of potential

     hazards to Trop Casino's customers. As the result of her fall, Plaintiff sustained serious personal

     injuries and other damages as hereinafter set forth.

                                              NEGLIGENCE

                                                      5.

             At all times pertinent hereto, Plaintiff was a business invitee of Trop Casino, and, as such,

     Trop Casino owed a duty to Plaintiff to keep its premises in a reasonably safe and suitable

     condition or to warn her of dangerous conditions not readily apparent, conditions of which Trop

     Casino knew or should have known, by the exercise of reasonable care. Furthermore, Trop Casino



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owed a duty to Plaintiff not to create potentially hazardous conditions or, alternatively, to warn

Plaintiff and others similarly situated of the existence of such potentially hazardous conditions.


                                                  C'~


       In connection with the maintenance of its property, Trop Casino was guilty of the following

negligent acts of omission and/or commission:

       a)       creating a dangerous condition on the Defendant's premises;

       b)       failing to warn the Plaintiff of a dangerous condition that existed on the premises;

       c)       failing to exercise due diligence to keep the premises in reasonably safe condition

                for the use of the business invitees such as the Plaintiff;

       d)       failing to exercise reasonable care to prevent injury to the Plaintiff and other

                invitees from hazardous conditions on the premises;

       e)       in allowing a condition to exist which created an unreasonable danger to invitees

                such as the Plaintiff;

       f)       in failing in its duty to exercise reasonable care to keep the premises in a reasonably

                safe and suitable condition which includes warning of latent or hidden dangers of

                which the Defendant knew, or with the exercise of reasonable care, should have

                known; and

       g)       in other ways to be shown upon completion of discovery in the trial of this case.




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                                           CAUSATION AND DAMAGES

                                                             7.

                As a direct and proximate result of the acts of omission and commission of Trop
                                                                                                        Casino,
         as set forth in the numbered paragraphs in regard to negligence, Plaintiff suffered
                                                                                               personal injuries
         to her body and other damages as are more fully set forth below:

                a)      suffered personal injuries to her body, including injuries to her neck, back, and right

                        shoulder;

                b)      suffered, suffers, and will continue to suffer pain and anguish from her injuries;

                c)     was forced to seek medical care and attention for treatment of the injuries sustaine
                                                                                                              d
                       by her, and as a proximate result of the accident aforementioned, has incurred

                       significant medical expenses, the specific amount to be proven at the trial of this

                       matter;

               d)      will likely incur future medical expenses for treatment of injuries sustained by her

                       in said accident;

               e)      has suffered lost wages;

               f)      has sustained a loss of enjoyment of life as a result of her disabling injuries and her

                       pain and suffering; and

               g)      has sustained a permanent impairment of function as a result of her injuries.




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                                                             8.

                   WHEREFORE, PREMISES CONSI
                                                             DERED, Plaintiff Williams, brings this
                                                                                                         cause of
           action against Defendant Trop Casino
                                                      under the cause of negligence as prov
                                                                                                 ided herein and
          demands judgment against said Defendant,
                                                         in an amount in excess of the minimum juri
                                                                                                       sdictional
          limits of this Court for the compensato
                                                   ry damages for all injuries suffered, exp
                                                                                             enses incurred, and
         damages sustained by Plaintiff as set
                                                  forth hereinabove and as will be specifi
                                                                                            cally proven at the
         trial of this matter; and damages for
                                                the PlaintifFs past, present, and future
                                                                                           physical and mental
         pain and suffering, impairment of func
                                                    tion, lost wages, loss of enjoyment of
                                                                                               life and medical
         expenses as set forth hereinabove and
                                                 for all expenses and costs of this action.

                RESPECTFULLY SUBMITTED, TH
                                                            IS, the 5"                , 2021



                                                       L.DOUGLAS            ADE, JR,, MSB NO. 99999
                                                       Counselfor ee        sa J. Williams, Plaintiff


        OF COUNSEL:

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